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SCANNED
UNITED STATES DISTRICT COURT
FOR THE SECOND CIRCUIT
19 CV 837
x ¢
WILLIAMS, SCOTT & ASSOCIATES LLC, et al., COMPLAINT
JOHN T WILLIAMS
Plaintiffs, FEDERAL TORT CLAIM 42 U.S.C. 1983, 1985
AND THE FOURTH, FIFTH, SIXTH, SEVENTH
v. EIGHTH AND FOURTEENTH AMENDMENTS
AND 18 U.S.C. 1001 & 18 U.S.C. 2
UNITED STATES OF AMERICA
Defendant,
x 2
PRO SE SUBMISSIONS

Pro Se submissions are afforded wide interpretational latitude and should be
held "to less stringent standards than formal pleadings drafted by lawyers."
Haines v. Kerner. In addition, the court is required to read the pro se submission
liberally and interpret it as raising the strongest arguments it suggest, United
States v. Akinrosotu. The Supreme Court has held that pro se submissions need
not even plead specific facts; rather the complainant “need only give the
defendant fair notice of what the ... claim is and the grounds upon which it rest."
Erickson v. Pardue. "A submission has facial plausibility when the litigant pleads

factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.”
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INTRODUCTION

1. This is an action for damages sustained by a citizen of the United States against
federal officers of the court in there investigative roles. The federal government’s
officers unlawfully searched and seized property without a valid search warrant or
probable cause, then unlawfully arresting and prosecuting the defendant and his
companies Williams, Scott & Associates LLC et al., even when they knew the civil
acts were not crimes. Similarly situated businesses had similar complaints but
were treated differently only because of race and class. Preet Bharara (AG),
Richard Zabel (FBI), Edith Ramirez (FTC) and Ruby Karjick (COC) and others as
supervisory officers are responsible for the conduct of the defendants and

for their failure to take corrective action with respect to federal personnel. Their
vicious propensities were notorious, to assure proper training and supervision of
the personnel, or to implement procedures to discourage lawless official conduct.
The acts of all the defendants which are the subject of this lawsuit were
undertaken in the regular course of their investigative duties. They are sued both
individually and in their official capacity. Upon information and belief the

defendants reside in New York and in Georgia.
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JURISDICTION
2. This is a civil action for damages brought pursuant to the United States
Constitution and 42 U.S.C. 1983, 1985 and the Fourth, Fifth, Sixth, Seventh, Eighth
and Fourteenth Amendments, 18 U.S.C. 1001,2. Jurisdiction is founded on 28
U.S.C. 1331, 1332 and the aforementioned statutory and constitutional
provisions. Plaintiff further invokes the pendent jurisdiction of this court to

consider claims arising under federal jaw.

PARTIES
3. Plaintiffs: John T Williams, Williams, Scott & Associates LLC, Legacy Payment
System LLC, WSA LLC, Sterling, Ross & Associates LLC, Supreme Imports LLC, and
WSA Williams Scott and Associates are all citizens and companies of the United

States.

4. Preet Bharara (AG Supervisor), a Defendant, at all times material to this
complaint acting alone or in concert with others, at all times relevant hereto,
Preet Bharara was the duly appointed AG of the state of New York. As such he
was responsible for the training, supervision and conduct of his men. He is sued

in his official capacity.
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5. George Venizelos (FBI Supervisor), a Defendant, at all times relevant to the
incidents which are the subject of this lawsuit were undertaken in the regular

course of his employment for the government. He is sued in his official capacity.

6. Ricahrd Zabel (DAG Supervisor), a Defendant, at all times relevant to the
incidents

which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

7. Nicole Friedlander (Supervisor AUSA), a Defendant, at all times relevant to the
incidents which are the subject of this lawsuit were undertaken in the regular

course of his employment for the government. He is sued in her official capacity.

8. Sam Olens (AG Supervisor), a Defendant, at all times relevant to the incidents
which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

9. Sally Yates (AG Supervisor), a Defendant, at all times relevant to the incidents
which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in her official capacity.

10. Richard Frankel (FBI Supervisor), a Defendant, at all times relevant to the
incidents which are the subject of this lawsuit were undertaken in the regular

course of his employment for the government. He is sued in his official capacity.
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11. James Comey (FBI Supervisor), a Defendant, at all times relevant to the
incidents

which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

12. Darren Kible (FBI Supervisor), a Defendant, at all times relevant to the
incidents

which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

13. Edith Ramirez (FTC Supervisor), a Defendant, at all times relevant to the
incidents

which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in her official capacity.

14. Valerie Verduse (FTC Supervisor),a Defendant, at all times relevant to the
incidents which are the subject of this lawsuit were undertaken in the regular

course of his employment for the government. He is sued in her official capacity.
15. Jessica Rich (FTC Supervisor), a Defendant, at all times relevant to the
incidents which are the subject of this lawsuit were undertaken in the regular

course of his employment for the government. He is sued in her official capacity.

16. Jonathan Nuechterlein (FTC Supervisor), a Defendant, at all times relevant to
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the incidents which are the subject of this lawsuit were undertaken in the regular

course of his employment for the government. He is sued in his official capacity.

17. William Effren (FTC Supervisor), a Defendant, at all times relevant to the
incidents which are the subject of this lawsuit were undertaken in the regular

course of his employment for the government. He is sued in his official capacity.

18. Deborah Marrone (FTC Supervisor), a Defendant, at all times relevant to the
incidents which are the subject of this lawsuit were undertaken in the regular

course of his employment for the government. He is sued in her official capacity.

19. Catherine Wolfe (Supervisor COC), a Defendant, at all times relevant to the
incidents which are the subject of this lawsuit were undertaken in the regular

course of his employment for the government. He is sued in her official capacity.

20. Ruby Karjick (Supervisor COC), a Defendant, at all times relevant to the
incidents which are the subject of this lawsuit were undertaken in the regular

course of his employment for the government. He is sued in his official capacity.

21. James Hatten (Supervisor COC), a Defendant, at all times relevant to the
incidents which are the subject of this lawsuit were undertaken in the regular

course of his employment for the government. He is sued in his official capacity.

22. Michael Fuqua (Receiver), a Defendant, at all times relevant to the incidents

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which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

23. Jennifer D Odom attorney for Bryan Cave LLP, a Defendant, at all times
relevant to the incidents which are the subject of this lawsuit were undertaken in
the regular course of his employment for the government. He is sued in her
official capacity.

24. Danielle C Parrington attorney for Bryan Cave LLP, a Defendant, at all times
relevant to the incidents which are the subject of this lawsuit were undertaken in
the regular course of his employment for the government. He is sued in her

official capacity.

25. Michael S Lewis (FTC), a Defendant, at all times relevant to the incidents which
are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

26. Frank Franklin (UC), a Defendant, at all times relevant to the incidents which
are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

27. Robin Rock (FTC-AUSA), a Defendant, at all times relevant to the incidents

which are the subject of this lawsuit were undertaken in the regular course of his
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employment for the government. He is sued in her official capacity.

28. Marcela Mateo (FTC-AUSA), a Defendant, at all times relevant to the incidents
which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in her official capacity.

29. Jill Jefferies (Probation), a Defendant, at all times relevant to the incidents
which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in her official capacity.

30. Joseph D Stites( FBI), a Defendant, at all times relevant to the incidents which
are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

31. Patrick Carrol (FBI), a Defendant, at all times relevant to the incidents which
are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

32. Kurt Dirker (FBI), a Defendant, at all times relevant to the incidents which are
the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.
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33. Timothy Brody (FBI), a Defendant, at all times relevant to the incidents which
are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

34. Brian Comisky (FBI), a Defendant, at all times relevant to the incidents which
are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

35. Kevin Song (AUSA), a Defendant, at all times relevant to the incidents which
are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

36. Jonathan Cohen (AUSA), a Defendant, at all times relevant to the incidents
which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

37. Benet Kearney (AUSA), a Defendant, at all times relevant to the incidents
which are the subject of this lawsuit were undertaken in the regular course of her

employment for the government. He is sued in her official capacity.

38. Richard Tarlowe (AUSA), a Defendant, at all times relevant to the incidents
which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.
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39. Sarah Paul (AUSA), a Defendant, at all times relevant to the incidents which
are the subject of this lawsuit were undertaken in the regular course of her

employment for the government. He is sued in her official capacity.

40. Jennifer Gachiri (AUSA), a Defendant, at all times relevant to the incidents
which are the subject of this lawsuit were undertaken in the regular course of her

employment for the government. He is sued in her official capacity.

41. Daniel Tehrani (AUSA), a Defendant, at all times relevant to the incidents
which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

42. Jeffrey A Brown (AUSA), a Defendant, at all times relevant to the incidents
which are the subject of this lawsuit were undertaken in the regular course of his

employment for the government. He is sued in his official capacity.

43. Laura D Pfister (AUSA), a Defendant, at all times relevant to the incidents
which are the subject of this lawsuit were undertaken in the regular course of her

employment for the government. He is sued in her official capacity.

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FACTUAL ALLEGATIONS

44. Inthe summer of 2012 the governor’s process server and FBI agent Timothy
Brody went by the plaintiff’s house, the FBI was brandishing a firearm on his side
in attempt to intimidate. They told the plaintiff that they had been by his office

and heard through the door how his employees were talking to their customers.

AS. The plaintiff explained that this matter was something to be handled by the
civil courts, so if the customers wanted to sue they had every right to under the
FDCPA. The plaintiff then told the FBI to leave his property, this incident started

an illegal investigation into the plaintiff’s personal life.

A6. On May 28, 2014 at 6:00am the FBI raided the defendant's office Williams,
Scott & Associates LLC using an unauthorized search warrant case no: 1:14-MC-
500. Simultaneously on May 28, 2014 the FTC filed a Exparte Tempory Restraining

order for the same businesses. This was meant to be confusing to the plaintiff.

47. The defendant’s funds were immediately seized by the FTC on May 28, 2014

without warning crippling him from defending himself. The plaintiff was supposed
to have 30 days to respond to the complaint from the FTC, however the appointed
receiver Michael Fuqua and law firm Bryan Cave LLC never gave the plaintiff a

chance to respond to the complaint.

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48. Defendant FBI conspired with the FTC to violate Mr. Williams’s fourth, fifth,
sixth, seventh, eighth, and fourteenth amendments by simultaneously attacking
him causing confusion, illegally searching and seizing his property with a fake
search warrant so he couldn’t retain adequate counsel, then manufacturing a

criminal and civil case against him.

49. Defendant FTC created and manipulated false documents in order to seize 25k
from Mr. Williams Company WSA Williams, Scott & Associates LLC ein # 26-
4663453, this company was not in the FTC’s temporary restraining order. Mr.
Williams’s signature was also forged on the preliminary injunction on June 19,

2014. This is a violation of 18 U.S.C. 1001,2.

50. On November 6, 2014 defendant Supervisors had learned that Mr. Williams
had exercised his constitutional and opened up a few new businesses. This caused
defendant supervisors under color of law to intentionally, negligently and with
complete and deliberate indifference for the plaintiffs rights, authorize an

unconstitutional massacre of epic proportions ever witnessed by regular civilians

51. On November 18, 2014 defendant supervisors, Preet Bharara AG, Richard
Frankel FBI, Edith Ramirez FTC and James Hatten Clerk of courts along with many
others under the color of federal law had Mr. Williams violently arrested at
5:00am with a marshals knee in his back as if he were a slave, this was
intentionally, negligently, and with complete and deliberate indifference to
plaintiffs rights. This Caused plaintiff to be deprived of his constitutional rights

including but not limited to the fourth, fifth, sixth, seventh, eight, and fourteenth

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amendments.

52. After the aforementioned arrest of the plaintiff defendant AUSA, FBI, FTC and
the COC maliciously and without reasonable or probable cause went before a
federal judge duly authorized to administer oaths and charged Mr. Williams with
one count of Conspiracy to commit wire fraud, without charging him with the
substantive crime of “Wire Fraud”... violation of fraudulent document statute 18
U.S.C. 1001. Two copies of the December 1, 2014 indictment are in the plaintiffs
discovery, one assigned to Judge Annalisa Torres and the other assigned to Judge
Richard Sullivan one of many fraudulent heinous acts perpetrated by the

defendants.

53. Defendant Preet Bharara, Richard Frankel, Edith Ramirez, and James Hatten
along with others, had this case on National Worldwide News. Plaintiff was
humiliated by these vicious propensities of the defendants and shipped to the
AUSA’s government detention center in the Southern District of New York, all
while defendants acted or attempted to act in the governments interest
thereupon causing restrictions on the plaintiffs liberty and causing

embarrassment, humiliation, mental pain and suffering.

54. On December 10, 2014 Mr. Williams was arraigned and held on “CONSENT”
without plaintiffs knowledge, due to the heinous acts of the government’s
agencies AUSA, FBI, FTC and COC, Mr. Williams remained falsely imprisoned away

from his three daughters until the plaintiffs conviction on July 12, 2016, threw his

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appeal he still remained a prisoner of the federal government, subjecting plaintiff
to punishment without the benefit of adequate counsel in violation of his rights

under the sixth and eighth amendments.

55. Defendant Supervisors, Preet Bharara, Richard Frankel, Edith Ramirez and
Ruby Karjick along with others under the color of law, intentionally, negligently
and with complete and deliberate indifference to plaintiffs rights, caused plaintiff
to be deprived of his constitutional rights including but not limited to the fourth,

fifth, sixth, seventh, eight, and fourteenth amendments, 18 U.S.C. 1001,2.

56. As of January 15, 2019 many of the defendants involved in this case have had
quiet departures from there lifelong government careers, three judges have
retired as well as all of the supervisors named in this lawsuit. There are so many
constitutional violations against the plaintiff that it would be impossible to list
them all, however the following list of heinous acts and conduct will detail most

‘but not all.

57. Defendant AUSA, FTC, FBI and COC, under the color of federal law,
intentionally, negligently, and with complete and deliberate indifference for
plaintiff’s rights, authorized and permitted, and tolerated the custom and practice
of the unconstitutional and excessive use of tactics by members of the AUSA, FBI,

FTC and COC. In particular by Defendant Supervisors by allowing:

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56. The abuse to which plaintiff was subjected was consistent with an
institutionalized practice of the second circuit, which was known to and ratified
by defendants and the government, the defendants having at no time taken any
effective action to prevent federal personal from continuing to engage in such

misconduct.

57. Supervisor defendants had prior notice of the vicious propensities of the
employees but took no stéps to train them, correct their abuse of authority, or to
discourage their unlawful use of authority. The failure to properly train
employees and instruct them in applicable federal law is supervisor liability,

failure to intervene, and respondeat superior.

58. On information and belief Supervisor defendants Preet Bharara, Richard
Frankel, Edith Ramirez and Ruby Krajick along with others authorized, tolerated

as institutionalized practices, and ratified the misconduct hereinbefore detailed

by:

60. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, Conspiring together to manufacture a
criminal case against Mr. Williams and his company for acts that were known to

be a civil matter.

61. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie

Verduse FTC, and Catherine Wolfe COC, forged the Plaintiffs signature on the

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preliminary injunction on June 19, 2014 thereby causing all assets to be seized
and eventually default judgment of the civil case that left the plaintiff owing 3.9

million dollars.

62. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, deliberately shared seized discovery with
the FBI whom fabricated there search warrant to trick the plaintiff into believing

the FBI had a right to use the discovery in the criminal case.

63. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, blatantly froze several of plaintiff's
companies’accounts improperly, also seizing company information from Supreme

Imports LLC causing this car dealership of seven years to go out of business.

64. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, deliberately failed to serve the plaintiff
correctly causing a default judgment of 3.9 million dollars and banishment from

the collection industry.

65. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, violated the double jeopardy clause by
punishing Mr. Williams twice; 3.9 million fine and banishment civilly, then 3.9

million fine and 5 years imprisonment criminally.

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66. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, did not follow proper procedures when

they executed the first exparte temporary restraining order on May 27, 2014.

67. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, allowed there employees to put their
names ona fraudulent documents; Application and Affidavit for search warrant

and search warrant in case no; 14-MC-500.

68. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, never had a legitimate indictment,

complaint, or arrest warrant or arrest under rule 40.

69. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, caused pain and suffering from (AVN),
and mental pain and suffering from wrongful confinement, surgery will be needed

for both hips, and plaintiff has been diagnosed with depression and PTSD.

70. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, allowed plaintiff to be detained then
denied bail at every turn, only to be detained excessively in pretrial detention for
eighteen months before he finally went to trial. Mr. Williams was offered a plea
of time served several times by his attorneys, but he refused, none of the plaintiffs

co-defendants ever spent a night in jail.

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71. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, intentionally had plaintiff thrown in the
SHU during the start of his trial for no reason, plaintiff later found out that this

was another shock tactic used by the defendants.

72. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, conspired with the Brooklyn MDC, and
FCI Marianna’s mailroom to tamper and hinder the plaintiffs mail denying him

access to the courts.

73. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, deliberately misclassifying plaintiff in
order to send him to a violent FCI facility whereby endangering his life as a
prisoner. Butner low was recommended by the judge because of plaintiffs

medical condition, but he never made it there.
74. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie

Verduse FTC, and Catherine Wolfe COC, conspired with the clerk’s office of the

S.D.N.Y. to violate due process laws by altering and changing docket information.

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75. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, allowed the sealing of appeal documents
without proper procedure, also deliberately filing incorrect motion orders and

docket entries.

76. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, knowingly and willingly changed docket

information in attempt to fix the case against plaintiff.

77. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, allowed plaintiff to be extradited to the

S.D.N.Y. without a proper warrant.

78. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, caused irreparable damage to all of the
plaintiffs businesses listed in this compliant, inventory, office furniture, past

present and future earnings.

79. Defendant Supervisors, Preet Bharara AG, George Venizelos FBI, Valerie
Verduse FTC, and Catherine Wolfe COC, showed complete racism and prejudice
against plaintiff by treating his company different from all the other companies
that had the same allegations, the difference was made because plaintiff is black
and of a different class, also reputational and stigmatizing statements that

embarrassed and harmed the plaintiff personally and professionally. The case of

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fake news reports destroyed the plaintiff’s reputation forever.

FEDERAL CAUSES OF ACTION

80. The allegations set forth in paragraphs 1 through 80 are incorporated

herein by reference:

81. The hereinabove described actions and omissions, engaged in under
color of federal law by the defendants are being sued in their official
capacity, because of its authorization, condonation, and ratification for the
acts of its agents, deprived the plaintiff of rights secured to him by the
constitution of the United States, including but not limited to, his fourth
amendment right from unlawful search and seizure, his fifth amendment
rights to due process a grand jury, and protection against double jeopardy,
sixth amendment rights to a speedy trial, seventh amendment right to a civil
trial, eighth amendment right against cruel and unusual punishment and the
fourteenth amendment, the right to life, liberty, or property, without due

process of law; nor deny to any person within its jurisdiction the equal

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protection of the laws “Class of one”.

82. The acts and conduct hereinbefore alleged constitute false arrest and
imprisonment, malicious prosecution, loss of liberty, malicious abuse of
process, denial of the right to a fair trial, failure to intervene/intercede,
supervisory liability, respondeat superior, tangible property, stigma plus,
reputational and business harm, intentional infliction of emotional distress,
negligent infliction of emotional distress, IED NIED, equal protection clause
class of one, procedural due process and substantive due process violations,
fourth, fifth, sixth, seventh, eighth and fourteenth amendment violations,
fraud and false statements by the government in violation of 18 U.S.C.
C1001,2. This court has pendent jurisdiction to hear and adjudicate these

claims.

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COMPENSATORY DAMAGES

New York law (the common law tort of false imprisonment).Under both
federal and state law, a person who is falsely arrested is entitled to
compensation for (1) loss of liberty, and (2) physical and/or emotional pain
and suffering caused by the false arrest. (Injuries caused by excessive force
and malicious prosecution are compensated separately.) Importantly, a
person who is falsely arrested is legally entitled to compensation for loss of
liberty (to redress denial of free movement and harm to personal dignity),
even if he or she does not experience any additional physical or emotional
pain and suffering. See Kerman v. City of New York, 374 F.3d 93,123-126 (2d
Cir. 2004); Gardner v. Federated Department Stores, Inc., 907 F.2d 1348,
1353 (2d Cir. 1990). Obviously, a person who suffers more harm, including
physical and/or emotional injuries, would be entitled to more compensation
than a person who suffers less harm, including only loss of liberty.
Nevertheless, “even absent such other injuries, an award of several thousand
dollars may be appropriate simply for several hours’ loss of liberty.” Kerman,
supra, at 125-126.ALSO In Martinez v. Port Authority of New York and New

Jersey, 445 F.3d 158, 160-161 (2d Cir. 2006) (per curiam), the Second Circuit

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affirmed the lower court’s ruling that $160,000 was reasonable
compensation for approximately 19 hours in custody, or $8421 per hour. in
Martinez v. Port Authority of New York and New Jersey, 445 F.3d 158, 160-
161 (2d Cir. 2006) (per curiam), the Second Circuit affirmed the lower court’s
ruling that $160,000 was reasonable compensation for approximately 19
hours in custody, or $8421 per hour. Plaintiff was wrongly imprisoned for 48
months and still remains on probation for three years until this case is

overturned.

WHEREFORE, Plaintiff demands the following relief jointly and severally,
against the United States of America:

Compensatory damages in the amount of 291,029.760.00 for each

government agency involved in the conspiracy.

Damages for Williams, Scott & Associates LLC is roughly 77 Million a

professional will have to adjust the number at a later date.

Damages for WSA,LLC is roughly 77 Million.

Damages for Supreme Imports LLC is roughly 25Million.

Damages for Sterling, Ross & Associates LP roughly 40 Million.

Damages for Legacy Payment Systems LLC is roughly 40 Million.

. Mental and emotional distress will have to be determined by a professional
at a later date.

. Damages from money seized illegally from businesses without interest or

future earnings 55,789.14.

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DATE: January 15, 2019:

Jonesboro Ga: 2 f 4 Kid .

Jokn T Williams, Pro se Litigant
437 Kendrick Est Dr

Jonesboro, Ga 30238

Black Lives Matter Greater Atlanta Inc.
260 Peachtree St #22
Atlanta, Ga 30303
Legal Assistant Counselors
Maejor Page
Mary Hooks
Telephone: 1-888-964-1141

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JOHN T WILLIAMS January 14, 2019
437 KENDRICK EST DR
JONESBORO, GA 30238

Dear Judge Edgardo Ramos:

Plaintiff, John Todd Williams currently on home detention brings his United
States Tort Claim pro se under this court’s jurisdiction founded on 28 U.S.C.1331,
1332. Mr. Williams addresses the chambers of Judge Edgardo Ramos because
case no; 15-CV-9155 already resides in his courtroom. This case was stayed by this
court until the defendants criminal case 14-CR-784 in final, the case is due to be
heard by the Supreme Court February 4, 2019. Mr. Williams ask this court to allow
him to proceed with this Tort claim in forma pauperis since the plaintiff already

has a case pending with this court that was granted in forma pauperis.

Respectfully,

‘ John T Williams

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JAN 18 2019

EDGARDO RAMOS
U.S. DISTRICT JUDGE
S.D.NLY.

TRULINCS 66425¢99°- WARE EXNROSIDHNLAD DDDogAmeBRG-J-Ciled 01/25/19 Pagei26 of 28

FROM: 66425019 miners ANNO: 22
-TO:

ere Gta PA MEMO ENDORSED

Dear Pro Se Intake: .

My name is John T Williams and | am the Plaintiff in the case no: 15 Civ. 9155 (ER). I'm writing you today to find out if
there is a way l can be granted a continuance or something of that nature until | can find representation. | am_not allowed to
represent my company which is central in this case because | am Pro Se, also the criminal case is still pending but set for
trial on June 29, 2016. The outcome of this criminal case will be pivotal, and could have allot of bearing-on the civil case. |

was told that | could possibly have this case "SET ASIDE" or "DISMISSED | WiT THOUT i PREWU JDICE" so | could come back tc it

‘ater, v when my ‘criminal case is over and have an attorney. Can you please advise me of the options | have, Thank You for

your help in this matter.

Respectfully, a nee ene
ELECTRONICALLY FILED
DOC #

DATE FILED: _ 4/6/2016

MEMO ENDORSED

The case is stayed pending conclusion of Plaintiffs criminal case.
Plaintiff is directed to contact the Court, by letter, no later than one
(1) week after the conclusion of his criminal case.

SO ORDERED.

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geek |) ye

Edgardo Ramos, U.S.D.J

Dated: 4/6/2016

New York, New York

Case 1:19-cv-00837-LLS Document1 Filed 01/25/19 Page 27 of 28
U.S. Department of Justice

Civil Division

JGT:GKJ-ASchlatter:as Washington, D.C. 20530
157-16-60020

ANG -2 2018

CERTIFIED MAIL —7C!Y 23-70 0006 "2e4¥a 27a3
RETURN RECEIPT REQUESTED

Mr. John Todd Williams

“Reg. No: 66425-0119 wee ee emacs ecient te wre wetngene tte we eee - pee ee ei semeneneeeesnenene Poem

FCI Marianna

Federal Correctional Institution
P.O. Box 7007

Marianna, FL 32447

Re: Reconsideration of the Denial of the Administrative Tort Claim of John Todd Williams ~

Dear Mr. Williams:

We have reviewed your request for reconsideration of the denial of the administrative tort
claim you submitted to the U.S. Department of Justice on May 25, 2018, relative to the alleged
acts or omissions of employees of the United States Attorney’s Office for the Southern District of
New York, the Federal Bureau of Investigation, the Administrative Office of the U.S. Courts, and
the Federal Trade Commission occurring in July 2015. After reconsideration, it has been
determined that your claim is not compensable. Accordingly, your claim must be and hereby is
denied.

I am required by. law (28 C.F.R. §14.9(a)) to inform you that, if you are dissatisfied with
the denial of your claim under the Federal Tort Claims Act, you may file suit in an appropriate
United States District Court no later than six months after the date of mailing of this notification.

28 U'S.C. § 2401(b).
Very truly yours,
Onn é Ons hh
i /

JAMES G. TOUHEY, JR.
Director, Torts Branch
cc:

Case 1:19-cv-00837-LLS Document 1

Honorable Geoffrey S. Berman
United States Attorney
Southern District of New York

Ms. Cecilia Bessee

Acting Deputy General Counsel
U.S. Department of Justice
Federal Bureau of Investigation
Office of the General Counsel
Civil Litigation

Ms. Mimi Crescenzi
Paralegal Specialist
Office of the General Counsel
Administrative Office of the U.S. Courts

Mr. Richard Gold

Attorney
Office of the General Counsel
Federal Trade Commission

Filed 01/25/19

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